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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 1 - Judgment in a Criminal Case                                            U.S. DISTRICT COURT
                                                                                                                         N.D. OF ALABAMA


                                  UNITED STATES DISTRICT COURT
                                      Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                            Case Number 2:15-CR-00418-MHH-JHE (001)

BRUCE MITCHELL NICHOLSON
    Defendant.


                                        JUDGMENT IN A CRIMINAL CASE
                              (For Offenses Committed On or After November 1, 1987)

         The defendant, BRUCE MITCHELL NICHOLSON, was represented by Hube H. Dodd, Jr.

      The defendant was found guilty on counts 1, 2, 3, 4, 5, and 6 after a plea of not guilty. Accordingly, the
defendant is adjudged guilty of the following counts, involving the indicated offenses:

Title & Section                              Nature of Offense                                       Count Numbers

18 USC § 2423(a)                   Transportation of a Minor with the Intent to Engage in Criminal   1 and 2
                                   Sexual Activity

18 USC § 24232(b)                  Transportation of a Minor to Engage in Illicit Sexual Conduct     3

18 USC § 2252A(a)(1) and (b)(1)    Transportation of Child Pornography                               4

18 USC § 2252A(a)(5)(B) and (b)(2) Possession of Child Pornography                                   5

18 USC § 2251(a) and (e)           Production of Child Pornography                                   6

     As pronounced on April 15, 2019, the defendant is sentenced as provided in pages 2 through 6 of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is ordered that the defendant shall pay to the United States a special assessment of $600.00, for counts
1, 2, 3, 4, 5, and 6, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.

         Signed this the 19th day of April, 2019.



                                                     MADELINE HUGHES HAIKALA
                                                     U.S. DISTRICT JUDGE
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 2 - Imprisonment


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                                                       IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a term of the defendant's life as to Counts 1 and 2; 360 months as to Count 3; 120 months as to Counts 4
and 5; and 360 months as to Count 6, with all counts to be served concurrently with the other.



        The defendant is remanded to the custody of the United States Marshal.




                                                             RETURN

        I have executed this Judgment as follows:




        Defendant delivered on                       to                                  at
                    , with a certified copy of this Judgment.



                                                                 United States Marshal

                                            By
                                                                      Deputy Marshal
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Supervised Release
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                                            SUPERVISED RELEASE
       Upon release from imprisonment, the defendant shall be on supervised release for a term of LIFE as to
Counts 1, 2, 3, 4, 5, and 6, with each count to be served concurrently with the other. The Probation Office shall
provide the defendant with a copy of the standard conditions and any special conditions of supervised release.

                                           STANDARD CONDITIONS OF SUPERVISED RELEASE

While the defendant is on supervised release pursuant to this Judgment:
1)   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time you
     were sentenced (if placed on probation) or released from custody (if supervised release is ordered), unless the probation officer instructs
     you to report to a different probation office or within a different time frame.
2)   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     to report to the probation officer, and you must report to the probation officer as instructed.
3)   You must not commit another federal, state, or local crime.
4)   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified, for the specific purpose of causing bodily injury or death to another person, such as nunchakus or tasers).
     Revocation of supervision is mandatory for possession of a firearm.
5)   You must not unlawfully possess a controlled substance.
6)   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court. You must contribute to the cost of drug testing
     unless the probation officer determines you do not have the ability to do so. Based upon a court order entered during the period of
     supervision for good cause shown or resulting from a positive drug test or evidence of excessive use of alcohol, you shall be placed
     in the Substance Abuse Intervention Program (SAIP) (or comparable program in another district).
7)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
8)   You must follow the instructions of the probation officer related to the conditions of supervision.
9)   You must answer truthfully the questions asked by the probation officer.
10) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
     the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
     within 72 hours of becoming aware of a change or expected change. (If you have been convicted of a crime of violence or a drug
     trafficking offense, the probation office is responsible for complying with the notice provisions of 18 U.S.C. § 4042(b) and (c) if you
     change your residence.)
11) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.
12) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
     so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses you from
     doing so. If you plan to change where you work or anything about your work (such as the position or the job responsibilities), you must
     notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
     due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
     change.
13) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
     of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
14) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
15) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission of the court.
16) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
     you to notify the person about the risk, and you must comply with that instruction. The probation officer may contact the person and
     confirm that you have notified the person about the risk.
17) You must fully and truthfully disclose financial information as requested by the probation officer related to the conditions of supervision.
     Financial information may include, but is not limited to, authorization for release of credit information, bank records, income tax returns,
     documentation of income and expenses, and other financial information regarding personal or business assets, debts, obligations, and/or
     agreements in which the defendant has a business involvement or financial interest.
18) You must support all dependents.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Supervised Release
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                             CONTINUATION OF STANDARD CONDITIONS OF SUPERVISED RELEASE

19)   You must comply with the probation office's Policies and Procedures Concerning Court-Ordered Financial Obligations to satisfy the
      balance of any monetary obligation resulting from the sentence imposed in the case. Further, you must notify the probation officer of
      any change in your economic circumstances that might affect your ability to pay a fine, restitution, or assessment fee. If you become
      more than 60 days delinquent in payments of financial obligations, you may be: (a) required to attend a financial education or
      employment preparation program under the administrative supervision of the probation officer; (b) placed on home detention subject
      to location monitoring for a maximum period of 90 days under the administrative supervision of the probation officer (and you must pay
      the cost of monitoring unless the probation officer determines you do not have the ability to do so); and/or (c) placed in a community
      corrections center for up to 180 days under the administrative supervision of the probation officer (and you must pay the cost of
      subsistence unless the probation officer determines you do not have the ability to do so).
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 3 (cont'd) - Supervised Release


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                                                  SPECIAL CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this Judgment:

1)   You must not use or possess any narcotic or controlled substance except as prescribed to you by a licensed medical practitioner, and
     you must follow the instructions on the prescription. You must not knowingly purchase, possess, distribute, administer, or otherwise use
     any psychoactive substances (e.g., synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether
     or not intended for human consumption, except as with the prior approval of the probation officer.

2)   You must participate in the Substance Abuse Intervention Program (SAIP) (or comparable program in the district of supervision) under
     the administrative supervision of the probation officer, and you must comply with the requirements and rules of the program. This
     program includes the following components: (a) testing by the probation officer or an approved vendor to detect prohibited drug or
     alcohol use; (b) substance abuse education; (c) outpatient substance abuse treatment, which may include individual or group
     counseling, provided by the probation office or an approved vendor, and/or residential treatment; (d) placement in a community
     corrections center (halfway house) for up to 270 days; and/or (e) home confinement subject to electronic monitoring for up to 180 days.
     You must contribute to the costs of participation unless the probation officer determines you do not have the ability to do so.

3)   You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed
     by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the locations where you reside, work,
     are a student, and were convicted of a qualifying offense.

4)   You must participate in an approved sex offense-specific treatment program under the administrative supervision of the probation officer,
     and you must comply with the requirements and rules of the program. This program may include: a psycho-sexual evaluation; family,
     group, and/or individual counseling; and psychological and clinical polygraph testing. The results of the polygraph examinations may
     not be used as evidence in court for the purpose of revocation of supervision, but may be considered in a hearing to modify conditions
     of release. While participating in treatment, you must abide by all rules and requirements of the program. You must notify the probation
     officer prior to canceling or rescheduling a treatment or polygraph session. You must contribute to the cost of treatment and polygraph
     testing unless the probation officer determines you do not have the ability to do so.

5)   You must participate in the Computer and Internet Restriction/Monitoring Program (or comparable program in another district) under
     the administrative supervision of the probation officer, and you must follow the requirements of the program. This program includes the
     following: (a) You must not possess or use any computer or Internet capable device without the prior approval of the probation officer
     or the court. You must notify the probation officer before altering or effecting repairs to any computer or Internet capable device you
     use. (b) You must permit the probation officer to conduct periodic, unannounced examinations of any computer and Internet capable
     device you use, other than equipment owned by your employer that is maintained at a place of employment other than your home. The
     examination may include the retrieval and copying of all data from the computer or Internet capable device, and internal or external
     peripheral equipment, and any software. (c) You must allow the installation of hardware/software on any Internet capable device you
     use, other than equipment owned by your employer, that will enable monitoring of your computer and/or Internet use and compliance
     with conditions of probation or supervised release. You must submit to such monitoring and shall pay the cost of such monitoring under
     the administrative supervision of the probation officer. You must consent to the placement of a notice on any computer or Internet
     capable device upon which monitoring hardware/ software is installed to warn others of the existence of the monitoring, and you must
     warn other people who use these computers or Internet capable devices that the computers or devices may be subject to searches
     pursuant to this condition. (d) You must not use any computer or Internet capable device owned by your employer except for the strict
     benefit of your employer in the performance of your job-related duties. (e) You must consent to third-party disclosure to any employer
     or potential employer of any computer and/or Internet use restrictions which have been imposed upon you. (f) You must provide the
     probation officer with accurate information about all hardware and software which comprise any computer system and/or Internet
     capable device you use; all passwords you use; and information pertaining to all Internet service providers you use, whether specifically
     subscribed by you or not. (g) You must provide personal and business billing records of any computer or Internet capable device you
     own or use upon request by the probation officer, and you must provide the probation officer with written authorization for release of
     information from the service provider of any Internet capable device you use (other than equipment owned by your employer). (h) You
     must not possess or use any type of data encryption or stenography software or technique. You must not alter, delete, or hide records
     pertaining to computer or Internet capable device, access, retrieval, or storage.

6)   You must participate in the Sex Offender Community Safety Program (or comparable program in another district) under the
     administrative supervision of the probation officer, and you must follow the requirements of the program. This program includes that:
     (a) You must not possess any material that depicts and/or describes "sexually explicit conduct," as defined in 18 U.S.C. § 2256(2),
     which, taken as a whole, would appeal to the prurient interest, and which lacks serious literary, artistic, political, or scientific value (unless
     approved in advance by the treatment provider for treatment purposes). "Material" includes, but is not limited to, pictures, photographs,
     books, writings, drawings, videos, or video games. (b) You must not possess bindings, blindfolds, restraints, handcuffs, or
     sadomasochistic paraphernalia. (c) You must not go to adult-themed stores or strip clubs and must not subscribe to or utilize sex-related
     adult telephone numbers or websites. (d) All out of district travel must be requested at least thirty (30) days in advance, and you shall
     be subject to sex offender registration and notification requirements and laws of the jurisdiction in which you travel. (e) You must not
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     obtain or use a postal box, commercial mail receiving agency, or storage space without the prior approval of the probation officer or the
     court. (f) You must provide personal and business billing records of any Internet capable device you own or use upon request by the
     probation officer. Furthermore, you must provide the probation officer with written authorization for release of information from the
     service provider of any Internet capable device you own or use. (g) You must not associate with any individual convicted of a sex
     offense, except in a treatment setting, without the prior approval of the probation officer. (h) You must not have any association or
     unsupervised contact with a minor under the age of 18 years without the prior approval of the probation officer. (i) If you enter into a
     dating, intimate, romantic, sexual, or marriage relationship with a person who you know has a minor child under the age of 18 years,
     you must notify the probation officer prior to engaging in that relationship, or promptly upon gaining such knowledge, and you must
     cooperate with the probation officer to notify that person of your prior sex offense conviction. (j) If your personal or criminal history
     reflects that you have committed a sex offense in which any victim was a minor under the age of 18 years, you must not possess
     children's books, clothing, toys, games, videos, or similar material without the prior approval of the probation officer. Failure to comply
     with these program requirements may subject you to increased treatment requirements and/or to home detention subject to location
     monitoring for a period of up to ninety (90) days under the administrative supervision of the probation officer, for which you must pay
     the cost of monitoring unless the probation officer determines you do not have the ability to do so.

7)   You must submit your person, property, house, residence, vehicle, office, papers, computers (as defined in 18 U.S.C. § 1030(e)(1)),
     and other electronic communications or data storage devices or media, to a search conducted by the probation officer. Failure to submit
     to a search may be grounds for revocation of supervision. You must warn any other occupants that the premises may be subject to
     searches pursuant to this condition. The probation officer may conduct a search pursuant to this condition only when reasonable
     suspicion exists that you have violated a condition of supervision and the areas to be searched contain evidence of this violation. Any
     search must be conducted in a reasonable time and in a reasonable manner.

8)   Failure to comply with these program requirements may subject you to increased treatment requirements and/or to home detention
     subject to location monitoring for a period of up to ninety (90) days under the administrative supervision of the probation officer, for which
     you must pay the cost of monitoring unless the probation officer determines you do not have the ability to do so.
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AO 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 6 - Restitution and Forfeiture


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                                              RESTITUTION AND FORFEITURE


                                                           RESTITUTION

       Pursuant to 18 USC § 3663A, restitution is applicable in this case. The victim has filed a claim for restitution
which has not been resolved to date. Therefore, the Court will set a hearing to determine restitution at a later date.


                                                           FORFEITURE

      The defendant is ordered to forfeit the following property to the United States pursuant to 18 U.S.C. §
2253(a):

         1. A Toshiba SATA hard drive with serial number 30HLS1CYS;

         2. An Acer laptop with serial number lxpwj02001016085F31601; and

         3. A Polaroid camera with serial number SNMR700136990016930.
